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 UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §          CASE NO. 4:15-CR-88
                                                 §
 JOSE MANUEL FABIAN (4)                          §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the United States Magistrate Judge pursuant to 28

 U.S.C. § 636. On November 3, 2015, the report of the Magistrate Judge was entered containing

 proposed findings of fact and recommendations that Defendant's Motion to Suppress (#132) be

 DENIED.

        There being no objections by Defendant, the Court is of the opinion that the findings and

 conclusions of the Magistrate Judge are correct. Therefore, the Court hereby adopts the findings

 and conclusions of the Magistrate Judge as the findings and conclusions of this Court. It is

 accordingly

        .
        ORDERED   that Defendant's Motion to Suppress (#132) is DENIED.
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
        SIGNED at Beaumont, Texas, this 23rd day of November, 2015.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE
